Case 1:23-mc-00263-JMS-WRP Document 1-3 Filed 04/13/23 Page 1 of 4   PageID.17




                             Exhibit "2"
Case 1:23-mc-00263-JMS-WRP Document 1-3 Filed 04/13/23 Page 2 of 4   PageID.18
 Case 1:23-mc-00263-JMS-WRP Document 1-3 Filed 04/13/23 Page 3 of 4     PageID.19



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We have a good faith belief that use of the copyrighted material detailed =
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state, under penalty of perjury, that we are authorized to act on behalf =
of the owner of the copyright that is allegedly infringed. This letter is =
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rights in connection with this matter, and nothing contained herein =
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which are expressly reserved=2E

We appreciate your assistance and thank you for your cooperation in this =
matter=2E
=20
Respectfully,

/Thomas Nowak/
Thomas Nowak
PML Process Management Ltd=2E

Address:
Lordou Vyronos, 61‐63, Floor 5
Larnaca 6023
Cyprus




<?xml version=3D"1.0" encoding=3D"UTF‐8"?>
<Infringement>
        <Case>
                <ID>52235213826</ID>
        </Case>
        <Complainant>
                <Entity>After Ever Happy Productions Ltd.</Entity>
                <Contact>Thomas Nowak</Contact>
                <Address>Lordou Vyronos, 61‐63, Floor 5 Larnaca 6023
Cyprus</Address>
                <Email                       </Email>

        </Complainant>
        <Service_Provider>
                <Entity>Cox Communications</Entity>
                <Address>1400 Lake Hearn Drive, Atlanta, GA 30319, US</Address>
                <Phone>+1‐404‐269‐7626</Phone>
                <Email>CoxDMCA@cox.net</Email>
        </Service_Provider>
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